Case 2:05-cV-02307-.]P|\/|-Cgc Document 9 Filed 06/07/05 Page 1 of 2 Page|D 5

F"_ED E."' pit ‘ 4\
UNITED STATES DISTRICT COURT f ` " O'£“'

wEsTERN I)IVISION oF TENNESSEE 95 JUH _.] PH 2: ug

HOBEF€T i".‘. 51 "e`HOL.!O

CARRIER CoRPoRATIoN, ei£m<, a_S_ ;-};ST_ m-
W.£). oF TN, §¢:§:ap'.-;{.§
Plaintiff,
v. CIVIL NO.: 05-2307-Ml V

PAUL P. PIPER, .IR., et al,

Defendants.

H./\_/\-/W\_¢\-#"/\_i\-#\_l

 

AGREED ORDER GRANTING MOTION FOR EXTENSION OF TIME
TO FILE RESPONSIVE PLEADING

 

Before the Coul't is Defendant, Piper Coating Technologies, lne.’s l\/Iotion for
Extension ol" Time to File a Responsive Pleading, filed on June 3, 2005; and it appearing
that Plaintiff"$ counsel have agreed to the extension sought in the Defendant’s l\/Iotion,
and for good cause shown, the Motion is GRANTED. The Defendant, Piper Coating
Technologies, Inc. Shall have up to and including July 67 2005 to respond to Plaintiff’s
Complaint.

IT IS SO ORDERED.

’GVLM;@ k A%w€/W"

United States Magistrate Judge

Dare-_ §/u//u 7» 2055-d

‘ ' J'¢ ‘ ;\ "'L-; _Z\._,'-`.: i;l-` ' l `.\
Ji..-el-i\.'i. -=`.\,.\..».\ .- j
or 7’§\&) i~'FiCP on \

aim ama as ama

ig\i);. `._‘l`¢\

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02307 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

John A. Poakeart
Robinson & Cole7 LLP
Financial Centre

695 E. l\/lain Street
Stamford, CT 06904--230

Joey l\/liranda

ROBINSON & COLE LLP
280 Trumbull Street
Hartford, CT 06 l 03--3 59

Pamela Elkow

Robinson & Cole7 LLP
Financial Centre

695 E.Main Street
Stamford, CT 06904--230

Honorable J on l\/lcCalla
US DISTRICT COURT

